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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA



 FEDERAL TRADE COMMISSION,

         Plaintiff,
                v.                                      Civil Action No. 20-3590 (JEB)
 META PLATFORMS, INC.,

         Defendant.


                                               ORDER

       The parties have largely narrowed their disputes regarding a proposed Protective Order,

leaving few issues for the Court to resolve.

       As to Highly Confidential Information, the Court approves Meta Platforms, Inc.’s

proposal permitting two designated in-house counsel to review the material without any showing

of particularized need. As proposed, these counsel shall be prohibited from participating in

Meta’s competitive decisionmaking for two years, whether still at Meta or with a new employer.

       As to Confidential Information, the only dispute relates to whether the four designated in-

house counsel shall be subject to the same prohibitions as the two discussed above. The Court

sees no reason why the same prohibitions should not apply and thus adopts the Federal Trade

Commission’s proposal.

       The Court believes that there is no need to insert “business” into the term “competitive

decisionmaking,” which is standard in these cases.

       Last, the Court is inclined to adopt the Third Parties’ proposal regarding designations —

i.e., that designations may be made on a document-by-document, rather than a page-by-page,

basis, but if Meta disagrees, the Court will permit it an opportunity to explain why.


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      The Court, accordingly, ORDERS that:

      1. The parties shall jointly submit a revised proposed Protective Order that incorporates

         the above rulings by March 25, 2022;

      2. If Meta agrees with the Third Parties regarding designations, the Protective Order

         shall include that language;

      3. If Meta disagrees, it shall file a brief by March 25, 2022, setting forth its objections,

         and the parties shall file two proposed Protective Orders, one with the language and

         one without, and the Court shall make its decision and sign the appropriate one; and

      4. Third Parties’ [118] Motion for Leave to File is GRANTED.



                                                             /s/ James E. Boasberg
                                                             JAMES E. BOASBERG
                                                             United States District Judge
Date: March 22, 2022




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